Case 2:07-md-01873-KDE-MBN Document 25936-4 Filed 11/06/12 Page 1of3

620 North Carrollton Ave.
New Orleans, LA 70119
Telephone: (504) 483-3224
Facsimile: (504) 483-2259
www.rodneyandetter.com

Trial Practice & Intellectual Property

FEMA Trailer Formaldehyde Products Liability Litigation
Narrative Statement in Support of Rodney & Etter, LLC’s
Request for Common Benefit Attorney’s Fees and
Reimbursement of Common Benefit Expenses

Rodney & Etter, LLC, (hereinafter referred to as “R&E”) submits the following narrative
statement in support of our request for common benefit attorneys’ fees and reimbursement of
common benefit expenses, for consideration by the Plaintiffs’ Steering Committee (‘PSC”).

The PSC has stated to the Court that, “The Rodney & Etter law firm initiated the first
legal action on behalf of those claiming formaldehyde exposure in FEMA-provided housing
units after Hurricanes Katrina and Rita. This is a matter of record and is undisputed.” See PSC
Memorandum, Doc. 22889, filed 9/16/11.

In June, 2006, R&E’s attorneys, directed by John K. Etter, began working on the FEMA
trailer formaldehyde litigation, when the formaldehyde exposure complaints first surfaced. R&E
filed the Decarlo McGuire v. Gulf Stream Coach class action lawsuit in Civil District Court for
the Parish of Orleans on August 4, 2006, which named travel trailer and mobile home
manufacturers, and FEMA trailer installation and maintenance contractors. After that case was
removed to federal court, R&E actively litigated the McGuire case in federal court until it was
consolidated into this MDL in November, 2007.

R&E prepared and filed the Kimberly Nelson v. Gulf Stream Coach lawsuit in the
Western District of Louisiana, and filed a motion to transfer, which was necessary for multi-
district consolidation. R&E filed two of the four cases that were pending when the parties asked
the Judicial Panel on Multi-District Litigation to consolidate the FEMA trailer cases.

R&E’s efforts resulted in the Court ordering FEMA to appear in this litigation, which
was a Critical step for plaintiffs to be able to identify and match the mobile home and trailer
manufacturers and contractors to individual trailer residents. See Order, 11/29/07 (Doc. 26)
(permitting amendment to name FEMA and requiring FEMA to “set forth a detailed plan for
testing the FEMA trailer units). See also Order, 3/5/08 (Doc. 104) (ordering FEMA to identify
unit manufacturers, models and VIN’s).

R&E conferred and worked with the other plaintiffs’ law firms to identify and retain
experts and develop the strategy for this litigation. The Gainsburgh, Benjamin, Becnel, Bice
Palermo & Veron, and other law firms agreed in June, 2007, to R&E serving on the Plaintiffs’
Executive Committee. See Motion to Appoint Interim Plaintiff's Committee, filed in Oldenburg
y. United States, 07-2961 (E.D. La. 7/24/07), Doc. 9. See also Report of Plaintiff's Coordinated
Meeting, Jn re FEMA Trailer Formaldehyde, MDL 1873 (E.D. La. 11/21/07), Doc. 13.

Case 2:07-md-01873-KDE-MBN Document 25936-4 Filed 11/06/12 Page 2 of 3

Afier consolidation, the Court selected certain counsel to serve on the Plaintiffs’ Steering
Committee (“PSC”), for which Mr. Etter applied but was not appointed. On March 24, 2008, the
Court entered an Order on Plaintiffs’ Counsel’s Time and Expenses Submissions (Doc. 115),
which required PSC authorization for work common benefit work and expenses. R&E only
seeks compensation and reimbursement for its efforts and expenses that occurred before the
Court’s March 24, 2008 Order, which R&E performed and incurred with a reasonable
expectation of future compensation.

After the FEMA trailer cases were consolidated and the PSC members were appointed by
the Court, Mr. Etter and R&E’s associates and paralegals continued to support the plaintiffs’
committee efforts, monitored the scientific developments and the litigation, attended status
conferences, filed additional cases and submitted claim forms for individual claimants.

On August 31, 2009, R&E transferred thirteen (13) individual lawsuits, including the
McGuire and Nelson cases to Justin Woods of the Gainsburgh, Benjamin law firm, and withdraw
from those cases. The Gainsburgh, Benjamin and R&E law firms discussed confecting a referral
counsel agreement to memorialize their understanding to share contingency attorneys’ fees and
expenses for those individual cases, similar to Gainsburgh, Benjamin’s agreements with other
counsel, but did not execute such an agreement. R&E anticipates signing such a referral
agreement with Gainsburgh, Benjamin for those 13 individual cases shortly.

The PSC has already acknowledged that “As to common benefit expenses, all of the
expenses enumerated in Exhibit D attached to the R&E motion appear to be expenses incurred
for the benefit of all plaintiffs [ ] prior to the entry of this Court’s time and expenses submission
protocol. Therefore, the PSC is prepared to recognize the submission of these expenses.” Doc.
22889 (emphasis added). The PSC has also represented to the Court that “the PSC does not
oppose the right of the Rodney & Etter firm to submit to the Court for consideration in
connection with any later settlements, the firm’s claim for common benefit fees and/or the
balance of its common benefit expenses.” Jd. See also Consent Order, Doc. 23563, 11/17/11
(reserving the right of Rodney & Etter “to request the payment of a common benefit fee in
connection with other settlements which might be entered in this litigation”).

R&E’s partners devoted 593.65 hours to the FEMA trailer formaldehyde litigation
between June 1, 2006 and March 23, 2008, as reported to Bourgeois Bennett. Our associate
attorneys provided 720.35 hours of common benefit work. R&E’s paralegals spent 394.50 hours
on this litigation. At a partner rate of $300 per hour, an associate rate of $200 per hour and a
paralegal rate of $75 per hour, R&E would be entitled to $351,752.50. Those rates are consistent
with recent Eastern District awards, See Hornbeck Offshore Services, LLC v. Salazar, 10-1663
(E.D, La. 6/1/11); 2011 U.S. Dist. Lexis 59846 ($295 - $420 partners and $180 - $195
associates); In re OCA, Inc. Securities and Derivative Litigation, 05-2165 (B.D. La. 3/2/09);
2009 U.S. Dist. Lexis 19210 (partners $400 - $450, associates $200 — 250, paralegals $100).
R&E also paid $10,563.15 for formaldehyde testing, attendance at the Joint Panel on Multi-
District Litigation hearing, attending the Congressional Sub-Committee hearing on the FEMA
trailers, filing fees, experts and other expenses in this litigation, between June 1, 2006 and March
23, 2008, of which $1,414.40 will be paid from the manufactured home settlement funds.
Case 2:07-md-01873-KDE-MBN Document 25936-4 Filed 11/06/12 Page 3 of3

Federal courts have long held that “a lawyer who recovers a common fund for the benefit
of persons other than himself or his client is entitled to a reasonable attorney’s fee from the fund
as whole.” Boeing v. Van Gemert, 444 U.S. 472, 478; 100 S, Ct, 745, 749; 62 L. Ed.2d 676, 681
(1980). Louisiana state courts similarly recognize that an attorney is entitled to compensation
“where an attorney alone and at his own expense has successfully maintained an action for the
preservation, protection, increase or creation of a fund in which persons other than his own
clients may share or from which they may benefit.” Avants v. Kennedy, 2002 0830 (La. App. 1
Cir. 12/20/2002); 837 So.2d 647, 656; Kirkpatrick v. Young, 456 So.2d 622, 625 (La. 1984).
R&E’s efforts and expenditures in investigating, preparing, filing and litigating cases were
necessary for this consolidated action and benefitted all of the FEMA trailer claimants.

The Court has recognized that the attorneys who file the first lawsuits are entitled to
common benefit fees and reimbursement, even if they do not handle a large number of claimants,
because a “critical mass” of cases is required for consolidation into a single proceeding and for
the litigation to have sufficient momentum to result in substantial settlements. See Turner v.
Murphy Oil USA, Ine., 582 F.Supp.2d 797, 809 (E.D. La. 2008).

Law firms that were not part of the plaintiffs’ steering committee may and should receive
compensation for work and expenditures that created a common benefit. In Jn re Vioxx, 802
F.Supp.2d 740, 786 - 787 (E.D. La. 2011), Judge Fallon awarded common benefit fees to the
Bruno & Bruno law firm, even though none of it’s attorneys served on the PSC. Several
attomeys were awarded common benefit fees in the Murphy Oil class action who were not
committee members. See Turner v. Murphy Oil USA, Inc., 582 F.Supp.2d at 822 ~ 827.

R&E’s position in this case is identical to the position of Lance Licciardi in the Murphy
Oil litigation. Like Mr. Licciardi, R&E was asked by the PSC to contribute their clients to the
critical mass that was required to create this consolidated MDL action, and later transferred its
cases to Plaintiffs’ Liaison Counsel. See Turner v. Murphy Oil, 582 F.Supp.2d at 822. The PSC
should follow Judge Fallon’s example in that case, and allocate common benefit attorneys’ fees
and expense reimbursement to R&E.

In conclusion, Rodney & Etter is entitled to common benefit fees, because R&E was one
of the first law firms to recognize and investigate the formaldehyde exposure complaints after
Hurricane Katrina. R&E hired experts to perform formaldehyde testing, researched, prepared
and filed thirteen lawsuits on behalf of people who were exposed to formaidehyde. Two of
R&E’s cases, McGuire and Nelson supported the consolidation of these cases into the present
MDL litigation. Accordingly, the Rodney & Etter, LLC law firm, requests that the PSC
recommend an award to the Rodney & Etter, LLC law firm of reasonable attorneys’ fees for
work that benefitted all litigants in these consolidated matters and reimbursement for the
expenses R&E incurred in the investigation, filing and prosecution of the initial lawsuits that led
to the mobile home, travel trailer and contractor settlements.

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